Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 1 of 19 PagelD #: 4

EXHIBIT “A”
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 2 of 19 PagelD #: 5

| Are

ae %.
‘ ?

SUPREME COURT OF THE STATE OF NEW YORK

 

 

COUNTY OF QUEENS

x
KRYSTAL AUSTIN AND DEVERELL
ANTHONY AUSTIN,

Plaintiff/Petitioner,
- against - Index No.700948/2021
NATIONAL FREIGHT, INC. AND CALEB
ROMANOWSKI,
Defendant/Respondent.
xX
NOTICE OF ELECTRONIC FILING
(Mandatory Case)

(Uniform Rule § 202.5-bb)

You have received this Notice because:

1) The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
New York State Courts E-filing system ("NYSCEF”), and

2) You are a Defendant/Respondent (a party) in this case.

e If you are represented by an attorney:
Give this Notice to your attorney. (Attorneys: see “Information for Attorneys” pg. 2).

e If you are not represented by an attorney:
You will be served with all documents in paper and you must serve and file your
documents in paper, unless you choose to participate in e-filing.

If you choose to participate In e-filing, you must have access to a computer anda
scanner or other device to convert documents into electronic format, a connection
to the internet, and an e-mail address to receive service of documents.

The benefits of participating in e-filing include:
e serving and filing your documents electronically
® free access to view and print your e-filed documents
@ limiting your number of trips to the courthouse
® paying any court fees on-line (credit card needed)

To register for e-filing or for more information about how e-filing works:
e visit: www.nycourts.gov/efile-unrepresented or

e contact the Clerk's Office or Help Center at the court where the case was filed. Court
contact information can be found at www.nycourts.gov

Page 1 of 2 EFN-1
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 3 of 19 PagelD #: 6

ad ’

To find legal Information to help you represent yourself visit www.nycourthelp.gov

Information for Attorneys
(E-filing is Mandatory for Attorneys)

An attorney representing a party who is served with this notice must either:

1) immediately record his or her representation within the e-filed matter on the
NYSCEF site www.nycourts.gov/efile ; or

2) file the Notice of Opt-Out form with the clerk of the court where this action is
pending and serve on all parties. Exemptions from mandatory e-filing are limited to
attorneys who certify in good faith that they lack the computer hardware and/or
scanner and/or internet connection or that they lack (along with all employees subject
to their direction) the knowledge to operate such equipment. [Section 202.5-bb(e)}

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.govi/efile or contact the NYSCEF Resource Center

(phone: 646-386-3033; e-mail: nyscef@nycourts gov).

Dated: 01/14/2021

 

ADILYA GAMBONE, ESQ.

 

Name
GAMBONE LAW GROUP, PLLC

 

Firm Name

To:

 

 

 

Index #

9131 KINGS BLVD, SUITE 318

 

ELMHURST, NY 11373
Address

(718) 650-5111
Phone

 

 

 

AGAMBONE@GAMBONELAWGROUP.COM
. E-Mail

2/24/20

Page 2 of 2 EFM-1
Case 1:21-cv-01556-PKC-RML_ Document 1-1_ Filed 03/24/21 Page 4 of 19 Pagelb #7

_— 2 1 ~

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

SUPREME COURT OF THE STATE OF NEW
YORK COUNTY OF QUEENS

 

KRYSTAL AUSTIN and DEVERELL ANTHONY SUMMONS AND COMPLAINT

AUSTIN,
Plaintiff (s), Index xo, 1004 “uf {Ue

Plaintiff(s) designates
QUEENS County

 

 

~against~ as the place of trial
The basis of venue is
The Location of accrual
NATIONAL FREIGHT, INC. and CALEB o the ones of'action
TNA 7 =" ounty of'Queens
ROMANOWSKI, State of New York
Defendant (s),
Ree ET en ee yt aaa de TMaN ae tamed REO ae TARE tee xX

 

¥OQU:ARE HEREBY SUMMONED to answer the complaint in this action and to:serve a copy of your answer, or, if
the complaint is-noet:served with this summons, to serve a noticeof‘appearance, on the Plaintiff's Attorney(s) within 20 days
after! the'service*of this stimmions, exclusive’ of the day of service (or within 30 days after thé service is'corplete if this,

summons i8 not persénally delivered to you within the State of New York); and in case of your failure to appear or answer,
judgment will betaken against you by default for the relief demanded.herein.

Dated: January.14, 2021

 

 

This: SUMMONS AND COMPLAINT
and the Papers on which it is. based, are
certified pursuant to Section 130¢1 elza
ofithe rules of the Chief Administrator
(22NYERR)

Attorney(s) for Plaintiff(s),

Office and, Post Office Address

Notice: The object ofthis action is to recover for personal injury 9131 KINGS Blvd, Suite:318:
due to defendani(s) negligence Elmhurst, NY 11373.
- Te (718) 650-5111

Upon your failure to appear, judgment will be taken against you by default with interest from September 8, 2020 and the
costs of this action,

 
Case 1:21-cv-01556-PKC-RML Document 1-1 a =e Ars os

NYSCEF Doc. NO. 1 RECEIVED NYSCEF: 01/14/2023

NATIONAL FREIGHT, INC.

C/O CORPORATION SERVICE COMPANY
80 STATE STREET

LBANY, NEW YORK, 12207-2543

   
 
 
 

CALEB ROMANOWSKI
50 North Landon Avenue
Kingston, PA 18704
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 6 of 19 —-~ #: 9

VYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF QUEENS

 

KRYSTAL AUSTIN and DEVERELL ANTHONY
AUSTIN, VERIFIED COMPLAINT
Plaintiff (s),

. Index Hi.
-against~

NATIONAL FREIGHT, INC. and CALEB:
ROMANOWSKI,

 

Defendant (s),
2 Seg esheets SE mmnemnneen IRS

Plaintiff(s), complaining of the defendants by her attorney upon information arid belief,
respectfully allege(s):

AS AND FOR A FIRST CAUSE: OF ACTION ON BEHALF
OF PLAINTIFF KRYSTAL AUSTIN

1. That:at all the times herein mentioned, the Plaintiff, KRYSTAL,AUSTIN, was and still is
a resident of the County of QUEENS,, the State of New York.
2. That atcall the‘times-herein mentioned! the Plaintiff, KRYSTAL AUSTIN, was-and still is

a resident of the County of QUEENS, the State-of New York,

 

3, That at@ll‘the titties herein mentioned) the Defendant, 'CALEB'ROMANOWSKI, was
and still 1s a resident of'the County of Luzeme,.the State of:Pennsylvania.

4, That at all times hereinafter alleged, anid, upon information and belief, the Deferidant
NATIONAL FREIGHT, ING., was and still is a domestic corporation organized and existing
under and by virtue:of the laws of New York.

5. That at all times hereinafter alleged, and upon information and belief, the Defendant

NATIONAL FREIGHT, ING,, was and still is:a domestic business:corporation organized. and.
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 7 of 19 PagelD #: 10

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

existing under and by virtue of the laws of New York.

6. That at all times hereinafter alleged, and upon information and belief, the Defendant
NATIONAL FREIGHT, INC., was and still is a domestic limited liability company organized
and existing under and by virtue of the laws of New York.

7. That at all of the time hereinafter mentioned, and upon information and belief, Defendant
NATIONAL FREIGHT, INC., was a foreign corporation authorized to do business under and by
virtue of the laws of the State of New York.

8. That at all times hereinafter alleged, and upon information and belief, the Defendant
NATIONAL FREIGHT, INC., was and. still is a foreign company’ authorized to do business
under and by virtue of laws and of the State.of New York.

9. That at all times hereinafter alleged, and upon information and belief, the Defendant
NATIONAL FREIGHT, INC., was and still i8-a foreign limited liability authorized to do
business under and by virtue of laws and of the State of New York,

10. That at all times hereinafter alleged, and: tipoh information and belief, ‘the Defendant
NATIONAL-FREIGHT, INC., maintained a principal-place of business in the County of Queens,
State of New York. .

‘11. That at all times hereinafter alleged, and upon information and belief, the Defendant
NATIONAL FREIGHT, INC., conducted and carried-on business in the County of Queens,
and the State of New York.

12. That at all times hereinafter alleged, and upon information and belief, the Defendant
NATIONAL FREIGHT, INC., conducted and carried on business in the State of New York.
13. That atall the times hereinafter alleged, and upon information, and belief, the defendant,

NATIONAL FREIGHT, INC., transacted business within the County of Queeris, State of New
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 —_— 8 = — To as

SYSCEF Doc. NO. 1 RECEIVED NYSCEF: 01/14/2023

York,

14. That at all the times hereinafter alleged, and upon information and belief, the defendant,
That at all times hereinafter mentioned, defendant, KRYSTAL AUSTIN, operated the aforesaid
motor vehicle bearing New York State registration number PC152655,,

15. That at all times mentioned, defendant, NATIONAL FREIGHT, JNC., was the owner of
a motor vehicle bearing Indiana State registration number T499908.

16, That at all times hereinafter alleged, and upon information and belief, the Defendant,
NATIONAL FREIGHT, INC., was the titled owner of a motor vehicle bearing Indiana State
registration number T499908.

17.  That.at all times hereinafter'alleged, and upon information and belief, the Defendant,
NATIONAL FREIGHT, INC., was the registered owner of'a ffidtor Vehicle beating Indiana

State registration number T499908.

18.  Thatiat all times hereinafter alleged, and upon information and belief, the Defendant,
NATIONAL FREIGHT, INC., was the lessee of'a motor vehicle bearing Indiana State
registration number T499908.

19. That at all times hereiriafter alleged, and ‘ipon itiformation and belief, the Defendant,
NATIONAL FREIGHT, INC., was the lessor of amotor vehitle bearing Indiana State

registration number 7499908,

20.  Thataat all tinves hereinafter alleged, and upon information and belief, the Defendant,
NATIONAL FREIGHT, INC;, was the teriter of a motor vehicle bearing Irdiana State

registration number T499908.

21. That at all times mentioned, defendant, CALEB ROMANOWSKI, was the owner of a

motor vehicle bearing Indiana State registration number T499908.
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 9 of 19 PagelD #: 12

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/202]

22. That at all times hereinafter alleged, and upon information and belief, the Defendant,
CALEB ROMANOWSKI, was the titled owner of a motor vehicle bearing Indiana State
registration number T499908.

23, That at all times hereinafter alleged, and upon information and belief, the Defendant,
CALEB ROMANOWSKI, was the registered owner of a motor vehicle bearing Indiana State
registration number 7499908.

24, That at all times hereinafter alleged, and upon information and belief, the Defendant,
CALEB ROMANOWSKI, was the:lessee of a motor vehicle bearing Indiana State registration
number T499908,

25, That at all times hereinafter alleged, and upon information and belief, the Defendant,
CALEB ROMANOWSKI, was the lessor of a motor vehicle bearing Indiana State registration
number T499908.

26. That at all times hereinafter alleged, and upon information and belief, the Defendant,
CALEB ROMANOWSKYJ, was the renter of a motor vehicle bearing Indiana State registration
number-T499908.

27. That at all times hereinafter mentioned, defendant, NATIONAL FREIGHT, INC.,
maintained the aforesaid motor vehicle bearing Indiana Staté registration number T499908.
28. That at all times hereinafter mentioned, defendant, NATIONAL FREIGHT, INC.,
managed the aforesaid motor’ vehicle bearing Indiana State registration number T499908.
29, That at all times hereinafter mentioned, defendant, NATIONAL FREIGHT, INC.,
controlled the aforesaid motor vehicle bearing Indiana State registration number T499908.
30. That at ali times hereinafter mentioned, defendant, NATIONAL FREIGHT, INC.,

operated the aforesaid motor vehicle bearing Indiana State registration number T499908.
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 10 of 19 PagelD #: 13

WYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

31, That at all times hereinafter mentioned, defendant, CALEB ROMANOWSKI, maintained
the aforesaid motor vehicle bearing Indiana State registration number T499908.
32. That at all times hereinafter mentioned, defendant, CALEB ROMANOWSKI], managed
the aforesaid motor vehicle bearing Indiana State registration number T499908.
33. That at all times hereinafter mentioned, defendant, CALEB ROMANOWSKI, controlled
the aforesaid motor vehicle bearing Indiana State registration number 1499908.
34. That at all times hereinafter mentioned, defendant, CALEB ROMANOWSKI, operated
the aforesaid motor vehicle bearing Indiana State registration number T499908.
35. That at.all times hereinafter alleged, and upon information and belief, the Defendant
CALEB ROMAN OWSKI, operated a motor vehicle bearing New York Registration number
21752MA with knowledge, permission and consent of Defendant NATIONAL FREIGHT, INC.
36. That at all times hereinafter alleged, and upon infoymation and belief, the Defendant
CALEB ROMANOWSKIL, maintained a motor vehicle bearing New York Registration number
21752MA with knowledge, permission and consent of the defendant NATIONAL FREIGHT, INC.
37. That at all times hereinafter alleged, and upon. information and belief, the Defendant
CALEB ROMANOWSKI, managed a motor vehicle bearing New York Registration number
21752MA with knowledge, permission and‘consent of'the defendant NATIONAL FREIGHT, INC.
38. That at all times hereinafter alleged, and’upon. information and belief, the Defendant
CALEB ROMANOWSKI, controlled a motér vehicle bearing New York Registration number
21752MA with knowledge, permission and consent of the defendant NATIONAL FREIGHT, INC.
39, That at all times hereinafter alleged, and upon information and belief, the defendant,
CALEB ROMANOWSKI, operated motor vehicle bearing New York Registration number

21752MA within the scope of his employment of defendant NATIONAL FREIGHT, ING.
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 11 of 19 PagelD #: 14

—_—

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

40.‘ That at all times hereinafter mentioned, Plaintiff KRYSTAL AUSTIN operated the
aforesaid motor vehicle bearing Delaware registration number PC152655

4]. At all times hereinafter mentioned, Rockaway Blvd at or near its intersection with 167
Street in the County of Queens, State of New York, was and still is a public highway used
extensively by the public general.

42. That on September 8, 2020, at the aforesaid location, the motor vehicle bearing Indiana
State registration number T499908 came in contact with a motor vehicle bearing Delaware
registration number PC152655:

43. That on September 8, 2020, at the aforesaid location, the motor vehicle bearing Indiana
State registration ntimber T499908 came in contact with a motor vehicle bearing Delaware
registration number PC152655, in which Plaintiff KRYSTAL AUSTIN was seated.

44, That the aforesaid accident and injuries restilting: were due solely and wholly as a result
of the careless, reckless and negligent manner in which the defendants owned, operated,
maintained, managed and controlled their motor vehicle without this plaintiff in any way
contributing tliereto.

45. That by reason of the foregoing and the negligence. ofthe. defendants, the Plaintiff,
KRYSTAL AUSTIN; was severely injured, bruised and wourided, suffered, still suffers and will
continue to suffer for some time physical pain and bodily injuries and became sick, sore, lame
and disabled and so remained for'a considerable length of time.

46. That by reason of the foregoing, the Plaintiff KRYSTAL AUSTIN, was compelled to and
did necessarily require medical aid and attention, and did necessarily pay and become liable
therefore for medicines and upon information and belief, the Plaintiff will necessarily incur

»

similar expenses,
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 12 of 19 PagelD #: 15

 

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

47. That by reason of the foregoing, the Plaintiff KRYSTAL AUSTIN, has been unable to
attend to her usual occupation in the manner required.

48, That by reason of the wrongful, negligent and unlawful actions of the defendants, as
aforesaid, the Plaintiff, KRYSTAL AUSTIN, sustained serious injuries as defined in Section
5102 (d) of the Insurance Law of the State of New York, and has sustained economic loss greater
than basic economic loss as defined in Section 5102 of said Insurance Law.

49, — That one or more of the excepfions of paragraph 1602 of the Civil Practice Law and Rules
applies to the within action.

50. That as a.result of the foregoing,.the Plaintiff, KRYSTAL AUSTIN, sustained damages

in an amount that exceeds the,jurisdictional limits of the lower courts.

AS AND FOR A SECOND CAUSE OF ACTION ON BEHALF
OF PLAINTIFF DEVERELL ANTHONY AUSTIN

51. Plaintiff DEVERELL ANTHONY AUSTIN hereby repeats, reiterates, and re-alleges
each and every allegation in paragraphs 1 through 50 with the saimie force and effect as if more
fully and at length set forth herein.

52.  That.all times hereinafter mentioned, Plaintiff, DEVERELL ANTHONY AUSTIN, was a
passenger in the-aforesaid motor vehicle bearing Delaware State registration number PC152655.
$3. That onSeptember 8,.2020, at the:aforesaid, location, the motor vehicle bearing. Indiana
State registration ‘tiurriber T499908 ciitne iti contact with a motor vehicle bearing Delaware
registration number PC152655.

54. That on September 8, 2020, at the aforesaid location, the motor vehicle bearing Indiana
State registration number T499908 came-in contact with a motor vehicle bearing, Delaware
registration number PC152655, in which Plaintiff DEVERELL, ANTHONY AUSTIN was

legally seated.
Case 1:21-cv-01556-PKC-RML Document = — sara Mie ore

mat 2, a. dl

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2021)

55. That the aforesaid accident and injuries resulting were due solely and wholly as a result
of the careless, reckless and negligent manner in which the defendants owned, operated,
maintained, managed and controlled their motor vehicle without this plaintiff in any way
contributing thereto.

56. That by reason of the foregoing and the negligence of the defendants, the Plaintiff,
DEVERELL ANTHONY AUSTIN, was severely injured, bruised and wounded, suffered, still
suffers and will continue to suffer for some time physical pain and bodily injuries and became
sick, sore, lame. and disabled and so remained for a considerable length of time.

57, That by reason of the foregoing, the. Plaintiff DEVERELL ANTHONY AUSTIN, was
compelled to and did necessarily require medical aid and attention, and did necessarily pay and
become liable therefore for medicines and upon information and belief; the Plaintiff will
necessarily*incur'similar expenses,

58, That by reason of the foregoing, the Plaintiff DEVERELL ANTHONY AUSTIN, has
been unable to attend to her usual occupation in the manner required.

59; That by reason of the wrongful, negligent and unlawful actions of the defendants, as
aforesaid, the Plaintiff, DEVERELL ANTHONY AUSTIN, sustained serious injuries as defined
in Section, 5102 (d) of the Insurance ‘Law of the’State of'New York, and-has sustained economic
loss greater than basi éconoinic loss as‘defined in Section 5102 of said Insurance Law.

60. That one or mote of the exceptions of paragraph 1602 of the Civil’Practice Law and Riiles
applies to the within action.

61. That as a result of the foregoing, the Plaintiff, DEVERELL ANTHONY AUSTIN,,

sustained damages in an amount that exceeds the jurisdictional limits of the lower courts.

AS AND FOR A THIRD CAUSE OF ACTION ON BEHALF
OF PLAINTIFF(s)
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 14 of 19 PagelD #: 17

 

VYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

62.  Plaintiff(s) hereby repeats, reiterates, and re-alleges each and every allegation in
paragraphs | through 61 with the same force and effect as if more fully and at length
set forth herein.

63. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
hiring defendant, CALEB ROMANOWSKI.

64. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to properly train defendant, CALEB ROMANOWSKI, for the purposes of
operating the subject vehicle.

65. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to hire and employ competently trained drivers for the purpose of operating the
subject vehicle including’ defendant,. CALEB ROMANOWSKI.

66. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to properly instruct and train defendant, CALEB ROMANOWSKI in the
operation of the subject vehicle.

67. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to promulgate and to enforce sufficient rules and regulations for safety standards
while defendant, CALEB ROMANOWSKI operated the subject vehicle.

68. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to properly supervise defendant, CALEB ROMANOWSKI.

69. That defendant, NATIONAL FREIGHT, INC. negligently and recklessly retaining
defendant, CALEB ROMANOWSKI, as an employee.

70. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in

hiring defendant, CALEB ROMANOWSKI.
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 15 of 19 PagelD #: 18

VYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/202)

71, That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to properly train defendant, CALEB ROMANOWSKI, for the purposes of
operating the subject vehicle.

72; That defendant, NATIONAL FREIGHT, INC, was negligent, careless and reckless in
failing to hire and employ competently trained drivers for the purpose of operating the
subject vehicle including. defendant, CALEB ROMANOWSKI.

73. That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to properly instruct and train defendant, CALEB ROMANOWSKI in the
operation of the subject vehicle.

74, That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to promulgate and to enforce sufficient rules and regulations for safety standards
while defendarit, CALEB ROMANOWSKI operated the subject vehicle:

75% That defendant, NATIONAL FREIGHT, INC. was negligent, careless and reckless in
failing to properly supervise defendant, CALEB ROMANOWSKI.

76, That defendant, NATIONAL FREIGHT, INC. negligently and recklessly retaining
defendant, CALEB. ROMANOWSKI, as an employee.

77; By reason of the foregoing, the, Plaintiff was caused to suffer severe and serious
personal injuries to mind and body, and further, that the Plaintiff was subjected fo great
physical pain and mental anguish.

78, That by reason of the foregoing, Plaintiff, was damaged in an amount which exceeds
the monetary jtitisdictional limits of any and all lower Courts which would otherwise

have jurisdiction herein, in an amount to be determined upon trial of this action.

WHEREFORE, the plaintiff(s) demand judgment both compensatory and
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 16 of 19 PagelD #: 19

 

NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 01/14/2023

exemplary against the defendants in an amount which exceeds the jurisdictional limits of all
lower courts which would otherwise have jurisdiction and which warrants the jurisdiction of this
Court; together with the costs and disbursements of each cause of action.

Dated: Elmhurst, NY
January 14, 2021

 

 

arcane for  Plaintite

9131 QUEENS BLVD, SUITE 318
ELMHURST, NY 11373

T: 718 650 5111

F: 718 6823 3155'

 
Case 1:21-cv-01556-PKC-RML Document1-1 Filed 03/24/21 —~ 17 of 19 == #: 20

___

NYSCEF Doc. NO. 1 RECEIVED NYSCEF: 01/14/2023

cs

STATE OF NEW YORK)
COUNTY OF QUEENS).

The undersigned, affirms that the following statements are true under the
penalties of perjury. -

This SUMMONS AND COMPLAINT and the papers on which it is based, are
certified natant to. Section 130-1.1-a of the rules of the Chief Administrator
Q2NYERR) ”

That deponent | is the plaintiff in the within action; ‘that deponent has read
ihe-forekbing- SUMMONS AND GOMPLAINT and knows the contents: thereof;
that same ig ‘trug to deponent's own knowledge, except as tq the matters therein
stated to Be alleged upon information and belief, and that as: to those matters
‘deporient-believes fitto be true. The:grounds of 'deponent's belief-as to all:matters

notstdted'iipon deponent’s knowledge are as follows:

Personal knowledge, information and investigation on the:file:

 

ADILYA A GAMBONE
NOTARY AUBLIC-STATE OF NEW Fors
Mo. 0ZGAB3 58422.
Quatilied In Kings County
My Commission Expires of-dis-2024
Case 1:21-cv-01556-PKC-RML_ Document 1-1 Filed 03/24/21 Page 18 of 19 PagelDb #24

NYSCEF DOC. NO.

1 RECEIVED NYSCEF:

STATE OF NEW YORK)
COUNTY OF QUEENS)

The undersigned, affirms that the following statements are true under the
penalties of perjury.

This SUMMONS AND COMPLAINT and the papers on which it is based, are
certified pursuant to Section 130-1.1-a of the rules of the Chief Administrator
(22NYCRR)

That deponent is the plaintiff in the within action; that deponent has read,
the foregoing SUMMONS AND COMPLAINT and knows the contents thereof;
that same is true to deponent's own knowledge, except as to the matters therein
deponent believes it to be true. The grounds of deponent's belief as to all matters
not stated upon deponent's knowledge:are as follows:

Personal knowledge, information and investigation on the file.

SWORN? 70 BEFORE ME THIS
DAY Ol} Me A = 3 20D)

i
at oe

Sf oa
r Bho ie fee
YY LE ae Fa
I ALAA
a. ‘ 1
” ' a

      
  

ADILYA B @a
. ! Fy GA
NOTARY Tug GE:

; MBONE
STATE OF NEW York.
Ne026A6355429
a Quih] ied hi Kison County
¥ Convinesion Expirasiietony. 2021
Sr ft

Notary Public/™

01/14/2021

 
Case 1:21-cv-01556-PKC-RML Document 1-1 Filed 03/24/21 Page 19 of 19 PagelD #: 22

 

NYSCEF DOC. NO. 1 ECEIVED NYSCEF: 01/14/2023:
Pre a Inctex No. [ 700 94E rout
SUPREME COURT OF THE’STATE OF NEW YOR
COUNTY CE QUEENS)

 

“fev

KRYSTAL AUSTIN and DEVERELL ANTHONY AUSTIN,
Plaintiff (s),

-agdinst-

NATIONAL FREIGHT, INC, and CALEB ROMANOWSKI,

Defendant (s),

 

 

SUMMONS and COMPLAINT

GAMBONE LAW GROUP, PLLC
Attorneys for Plaintiff
KRYSTAL AUSTIN and DEVERELL ANTHONY AUSTIN
9131 KINGS Blvd, Ste 318,
Elmhurst, NY 11373
T: 718 650 5111
ae TAS 682. 3155

 

 

“Aitorney(s) for Sn er eee 7

Service of a copy of the within is hereby admitted
Dated:,

 

 

Neo ofp aban Neehecay'

Attorney(s) for
